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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 OI EUROPEAN GROUP B.V.,

                  Plaintiff,

           v.                                                  C.A. No. 19-mc-290-LPS
 BOLIVARIAN REPUBLIC OF VENEZUELA,


                  Defendant.


    PLAINTIFF’S REPLY IN SUPPORT OF MOTION FOR LEAVE TO FILE A
 SUPPLEMENTAL MEMORANDUM IN SUPPORT OF PLAINTIFF‘S MOTION FOR
                          RECONSIDERATION

       Plaintiff OI European Group B.V. (“OIEG”) files this reply in support of its Motion for

Leave to File a Supplemental Memorandum in Support of Plaintiff’s Motion for Reconsideration

[D.I. 36] (the “Motion to Supplement”) and in response to Defendant Bolivarian Republic of

Venezuela’s (“BROV”) opposition to the Motion to Supplement [D.I. 39].1

           1.    The only question presented by the Motion to Supplement is whether OIEG may

supplement the record. Whether the supplemented facts are material to the Court’s decision on

reconsideration should be addressed with the record brought up to date.

           2.    There is no “one and done” rule limiting a judgment creditor’s effort to satisfy its

judgment. OIEG’s judgment remains unsatisfied – BROV has made no attempt to address its

obligations in any manner. OIEG’s initial motion for an attachment rested on the doctrine of




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           Capitalized terms in this brief have the meanings ascribed to them in the Motion.
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collateral estoppel. With that motion denied, nothing would have prevented OIEG from filing a

second, evidentiary motion seeking relief on the basis of more current evidence.2

           3.   OIEG proceeded more practically. Its motion to reconsider combined the argument

that the collateral estoppel doctrine should indeed apply, with a response to the argument raised

by BROV in its opposition concerning the state of facts today. See Memorandum of Law in

Opposition to Plaintiff’s Motion for an Order Authorizing the Issuance of a Writ of Attachment

Fieri Facias [D.I. 11], at 12 (“[T]he Republic submits that, on a full record reflecting current facts,

the Court would reach a completely different conclusion.”). OIEG then responded to BROV’s

assertion by arguing that the change in recognized leadership has not resulted in a change in

circumstances that would render OIEG’s collateral estoppel argument invalid. The present Motion

to Supplement merely brings that presentation up to date, with later facts have emerged to aid this

Court’s review of OIEG’s earlier attempt to prove a negative (that circumstances had not actually

changed for collateral estoppel purposes).

           4.   BROV’s dilatory argument is that OIEG must file a new motion to address an

argument that BROV raised in its opposition to the motion for attachment. What BROV proposes

is a waste of judicial resources – that in the event the Court reaffirms its view of the law of

collateral estoppel, the parties start anew with a new motion for attachment based on factual

grounds.

           5.   BROV’s response to the Motion to Supplement also hints at what the merits

response would be to a supplemental record. BROV contests none of the facts, but argues that an


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         In Federal Election Comm’n v. O’Donnell, 217 WL 2200911 (D. Del. May 19, 2017),
this Court denied a motion to reconsider (among numerous other motions) because a year after
discovery closed, seven months after liability was determined on summary judgment, and
following an adverse judgment, the movant attempted to introduce evidence from years before the
case was commenced. This case involves no equivalent evidentiary determination or judgment.


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entity’s alter ego liability depends on the geographical location of the corporate asset. BROV

argues that even if PDVSA is an alter ego of BROV in Venezuela and across the globe, PDVSA

is not in this country. BROV cites no authority for this argument, and there is none. The argument

conflates BROV – the sovereign entity – with a government that the United States has recognized

as its representative. The question is not one of agency, but of entity status: whether PDVSA as a

corporate entity remains indistinguishable from BROV as a sovereign entity. That question has

nothing to do with which representative has standing in which legal jurisdiction.         As the

supplemental brief would show, the two entities remain, as they were before, indistinguishable.

                                         CONCLUSION

       WHEREFORE, Plaintiff requests that the Court grant leave to allow Plaintiff to file the

Supplemental Memorandum attached to the Motion and the declaration to which it refers, and that

the Court grant other and further relief as may be just and proper.



 Dated: September 9, 2020                    MORGAN, LEWIS & BOCKIUS LLP

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